                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

MANDI PHILLIPS, on Behalf of                         )
Herself and All Others Similarly                     ) CASE NO.: 3: 14-cv-1710
Situated,                                            )
                                                     ) Hon. Waverly D. Crenshaw, Jr.
        Plaintiff,
                                                     )
                                                     )
vs.
                                                     )
                                                     )
MAPCO EXPRESS, INC., and DELEK
                                                     )
US HOLDINGS, INC.,
                                                     )
                                                     )
        Defendants.
                                                     )


       DECLARATION OF KIMBERLY K. NESS REGARDING RESIDUAL FUNDS

I, Kimberly K. Ness, being duly sworn and deposed, declare and state as follows:

         1.      I am Principal of Dahl Administration, LLC (“Dahl”), and I am over 21 years of

age and not a party to this action. This Declaration is based on my personal knowledge,

information provided by the staff of Dahl, and information provided by Dahl’s media partners.

If called as a witness, I could and would testify competently to the facts stated herein.

         2.      As previously described in the Declaration of Jeffrey D. Dahl with Respect to

Settlement Notice Plan dated December 12, 2016 and the Supplemental Declaration of Jeffrey D.

Dahl, dated December 30, 2016, Dahl has been retained as the Notice Administrator and

Settlement Administrator for the above-captioned action. I submit this Declaration in order to

provide the Court and the parties to the Litigation1 with information regarding the final

accounting of the Settlement Fund and the proposed disbursement of the Residual Funds.




1
        All capitalized terms not otherwise defined herein have the meaning ascribed to them in the Stipulation of
Settlement, dated September 6, 2016 (ECF No. 25-1).

                                                        -1-

      Case 3:14-cv-01710 Document 54-3 Filed 09/26/18 Page 1 of 3 PageID #: 639
                         DISTRIBUTION OF SETTLEMENT FUND

       3.      Dahl received from the Defendant the Settlement Amount totaling $50,000, as set

forth in the Stipulation of Settlement. Interest was earned on this account ($19.32) and taxes on

this interest were paid ($3.32).

       4.      As set forth in the Stipulation of Settlement and notice disseminated in connection

with the Settlement, all Settlement Class Members wishing to participate in the Settlement were

required to submit a valid and timely Proof of Claim form on or before January 26, 2017.

       5.      Dahl received and processed a total of 5,711 Proof of Claim forms, of which

5,568 were filed online and 143 were filed on paper claim forms.

       6.      3,111, or 54.5%, of the 5,711 total Claim forms submitted to Dahl were late,

duplicative, or did not meet the Claim Form requirements.

       7.      Ultimately, after conducting all usual and customary due diligence, Dahl mailed

checks to 2,600 Settlement Class Members on May 19, 2017, for a total of $50,014.68.

       8.      Dahl logged each distribution mailing returned as undeliverable. The log is

available for inspection by the Court, Class Counsel and counsel for Defendant upon request.

       9.      There were 115 distribution checks returned without a forwarding address. Better

addresses were located on 26 records. As a result, 89 payments remained undeliverable.

       10.     There were 12 distribution checks that were returned with a forwarding address

and promptly remailed to the updated addresses.

                                   FINAL ACCOUNTING

       11.     The check cashing deadline was August 17, 2017. As of September 9, 2018,

Settlement Class Members cashed checks totaling $45,998.80.




                                               -2-

   Case 3:14-cv-01710 Document 54-3 Filed 09/26/18 Page 2 of 3 PageID #: 640
      12.     Pursuant to §2.1 of the Stipulation of Settlement, after calculation of the payment

amount of all valid Claims, $4,017.20 remains in the Settlement Fund. This represents the

value of uncashed and undistributed funds.

      13.     Pursuant to §2.1 of the Stipulation of Settlement, any balance that still remains in

the Residual Fund shall be distributed to the appropriate non-profit organization selected by the

parties and approved by the Court. Accordingly, Dahl respectfully requests that the Court enter

an Order approving the disbursement of the remaining balance of the Settlement Fund.



      I declare under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.



      Executed this 24th day of September, 2018 in Minneapolis, MN.




                                                    Kimberly K. Ness
                                                    Principal
                                                    Dahl Administration, LLC




                                              -3-

  Case 3:14-cv-01710 Document 54-3 Filed 09/26/18 Page 3 of 3 PageID #: 641
